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 2


 3
                                 UNITED   STATES     DISTRICT        COURT
 4                            EASTERN DISTRICT          OF   WASHINGTON


 5
       UNITED STATES OF AMERICA,
                                                             No.    CR-11-107-WFN-17
 6
                           Plaintiff,
                                                             ORDER    GRANTING      IN    PART
 7
       v.                                                    DEFENDANT'S         MOTION    FOR
                                                             RECONSIDERATION         OF   DETENTION
 8
       DUSTY BLUE ZARATE,
 9
                                                             0       MOTION GRANTED IN PART
                           Defendant.                                (ECF NO.      424)
10


11
             The undersigned took Defendant's Motion for reconsideration of

12    detention under advisement while a Supplemental Pretrial Services

13
      Report was     prepared.       The Report has been filed and the two-day

14
      comment     period   has     passed.      Defendant           filed    a   response        to   the

15    Supplemental Report.

16
             While   Defendant has support of family and                         friends,    certain

17
      serious     concerns have been raised that result                      in the undersigned

18
      being unable     to permit          release to either            of    the two proffered

19
      residences.     If Defendant is able to secure a bed in a halfway house

20
      and is able to maintain sobriety and compliance with treatment rules

21
      and the rules of the halfway house for 90 days, the undersigned will

22
      revisit a change in residences.                This order will be self-executing

23
      upon confirmation of a halfway house bed and agreement of Defendant

24
      to this condition and the other preconditions to release.

25
             IT IS ORDERED Defendant's Motion for reconsideration (ECF NO.

26
      424)   is   GRANTED     in   part.       Defendant           shall    be   released        on   the

27
      following conditions:

28
       ORDER GRANTING IN PART DEFENDANT'S MOTION FOR
       RECONSIDERATION OF DETENTION            1
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